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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


IN RE: TESTOSTERONE                                     )
REPLACEMENT THERAPY                                     )
PRODUCTS LIABILITY LITIGATION                           )   Case No. 14 C 1748
-----------------------------------------------------   )
This document relates to:                               )   MDL No. 2545
                                                        )
Medical Mut. of Ohio v. AbbVie,                         )
Inc., et al., No. 1:14-cv-8857                          )


                            CASE MANAGEMENT ORDER NO. 90
                     (Pending motions to compel in Medical Mutual case)

         There are three pending motions to compel in the Medical Mutual of Ohio v.

AbbVie, Inc. case. Responses have been filed to two of them; the third was filed just

the other day. The Court has reviewed the parties' submissions and concludes that

further argument on the two motions that have been responded to is not called for.

         1.       The Court denies the AbbVie defendants' motion to compel a further

response to their interrogatory 3. Given the wording of the interrogatory, plaintiff's

response is sufficient. The Court thus need not address plaintiff's argument that

because the interrogatory is a contention interrogatory, any further or complete

response should be deferred pursuant to Federal Rule of Civil Procedure 33(a)(2).

         2.       The Court also denies plaintiff's motion to compel production of "merger"

documents and related information involving Auxilium and Endo. Plaintiff has not

established that the requested information is relevant or material.

         3.       Plaintiff is directed to file a written response to Endo and Auxilium's motion

to compel an answer to their interrogatory 2 by no later than December 21, 2017. The
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Court will endeavor to issue a written ruling promptly thereafter.

Date: December 14, 2017

                                                 ________________________________
                                                      MATTHEW F. KENNELLY
                                                      United States District Judge




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